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Copies to: ‘ oh — Special Proceedings UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA FILED

i - 7 2008
UNITED STATES OF AMERICA, MAY
| PLAINTIFF ,RESPONDENT, Clerk, U.S. District and
Bankruptcy Courts

v. Case No. 98-329(¢EPH) THY

JEROME MARTIN,
DEFENDANT/PETITIONER.

4 /
|
| MOTION TO STAY THE 28 U.S.C. 2255 MOTION

COME NOW, Jerome Martin, the defendant, acting in pro-se
and respectfully moves this Honorable Court to stay his motion
under 28 U.S.C. 2255 which was timely filed on February 18, 2008
| In support of his motion the defendant shows this Court
as follows:
| (1)

In July and August 2001, Martin was convicted in a jury

triall of narcotics conspiracy, RICO conspiracy, first degree

murder, and other offenses.

| (2)

tn the Jury trial Martin was represented by Joanne Hepworth,
ESQ. |

| (3)

On direct appeal of this criminal conviction, Martin was

represented by Reita Pendry, ESQ., in which was subsequently DENIED

in February of 2007. RECEIVED

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|

(4)

|
| Following his denial of his first appeal counsel Reita

Pendry was retained[again] by Martin's family to handle this
motion under 28 U.S.C. 2255, which she personally prepared.

(5)

| On or about February 7, 2008 Martin received his copy of

the §2255 motion which was personally filed by Joanne Hepworth
and Reita Pendry in this Court sometime during this period.
(6)
“That upon Martin's personal observation he discovered that
counselor Pendry or Hepworth had [FORGED] his Signature on all

the §2255 documents, as though he had actually filed his §2255

in pro-se. Martin never consented to/or authorized this forgery.
(7)

That on or about March of 2008 Martin received a copy of

[sealed] documents to United States of America v. Arthur Rice,
criminal case No. 96-249(PLF), as filed in this Court which show
clearly and irrefutably that counsel Reita Pendry represented
Arthur Rice in a criminal matter around March of 1998, and [prior]
to her representation Martin on his direct appeal and §2255 motions.
See; me attached Exhibits, (A) and (B).

| » (8)

That counsel Pendry diligently represented Arthur Rice, a

[ke overnment witness in Martin's criminal trial, and [never]
YJ 8

notiffied Martin of this "conflict of interest", to present date.

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| (9)

| That upon receipt of Exhibits (A) and (B), Martin has

*1

vechetice 0 sought to inquire of counsel Pendry as to this

"conflict of interest", and has made several serious attempts

to retain [new] counsel of record, in the effort to supplement

and/or amend his §2255 Motion with additional issues including
|

"conflict of interest on direct appeal" and / or "Ineffective

Assistance of Counsel on direct appeal."

|

| (10)

|
|
|

| That Martin's family shall effectively retain counsel to

\
replace counsel Pendry and amend his §2255 within the next two

or three weeks, with due diligence.
|

| Wherefore; the defendant Jerome Martin prays this Honorable
Court stay this § 2255 motion for a thirty (30) day period,
or in the alternative allow the defendant opportunity to amend

* : ‘ . :
or supplement 2 his §2255 with issues relative to the stated
*
"conflict of interest" after the government’ response. 3
|

*1 Please note; counselor Reita Pendry and Joanne Hepworth, Martin's
direct appeal and trial attorney(s), respectively, have currently
opened a [joint] private practice.

*2 See; Rule 15_, Federal Rules of Civil Procedure.
* 3 Sep; United States v. Stitt, 441 F.3d 297 (4th Cir.2006).

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Respectfully submitted,

by Vere We ——~
Yerome Martin # 18894-083
USP-Hazelton

Bruceton Mills, WV. 26525

CERTIFICATION

I, Jerome Martin, the undersigned, and defendant pro-se
in this motion to Stay depose and state under the penalty of

perjury that this motion is true and correct. 28 U.S.C. 81746.

execute on: 37! S~- OY

erome Martin

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CERTIFICATE OF SERVICE

I, Jerome Martin, and the undersigned depose and state under the
penalty of perjury that I have provided all parties to this cause of action
with a true and exact copy of this MOTION TO STAY THE 28 U.S.C. § 2255 MOTION

by enclosing their respective copy into a postage pre-paid envelope, sealed
therein, and addressed to:

Jeffrey Taylor, US Attorney Reita Pendry
555 4th Street, N.W. Attorney at Law
Washington, D.C. 20001 PO Box 5432

Charlotte, N.C. 28299

Joanne Hepworth

601 Penn. Ave, Ste 900
South Building
Washington, D.C. 20004

; and hand-delivered to the prison mail-room authorities at the USP Hazelton,
P.O. Box 2000, Bruceton Mills, WV 26525, for deposit into the U.S. Postal
Service.

Executed this, day of, » 2008.

By: pre. fu —

Serome Martin.

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